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 11
 12                      UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14
 15
      IN RE APPLICATION OF SHERVIN           Misc. Action No.ൢ:ൢൡ-mc-ൠൠൡ൧൥ –JAK-
 16   PISHEVAR FOR AN ORDER TO               KSx____________
      TAKE DISCOVERY FOR USE IN
 17   FOREIGN PROCEEDINGS                    [PROPOSED] ORDER TO ISSUE
      PURSUANT TO ൢ൨ U.S.C. § ൡ൧൨ൢ,          SUBPOENAS TO MR. SAM
 18                                          ANSON AUTHORIZING
                               Petitioner.   DISCOVERY PURSUANT TO ൢ൨
 19                                          U.S.C. § ൡ൧൨ൢ TO CONDUCT
                                             DISCOVERY FOR USE IN A
 20                                          FOREIGN PROCEEDING
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                                                                    [PROPOSED] ORDER
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  1                               [PROPOSED] ORDER
  2        Upon consideration of the unopposed Ex Parte Application And Petition For
  3 An Order To Conduct Discovery For Use In Foreign Proceedings Pursuant To 28
  4 U.S.C. § 1782 (the “Application”), submitted by Shervin Pishevar (“Petitioner”) and
  5 all papers submitted in support thereof, this Court finds that (1) the statutory
  6 requirements of 28 U.S.C. § 1782 are satisfied, and (2) the factors identified by the
  7 United States Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc., 542
  8 U.S. 241 (2004), weigh in favor of granting the Application.
  9
 10        It is therefore ORDERED that:
 11        (a)   the Application is granted;
 12        (b)   Petitioner is authorized to serve the subpoenas annexed as Exhibit 2 to
 13              the Declaration of Lucas Bento upon Mr. Sam Anson (“Respondent”);
 14              and
 15        (c)   Respondent is directed to respond to such subpoenas pursuant to the
 16              Federal Rules of Civil Procedure and the Local Civil Rules of the
 17              Central District of California.
 18        SO ORDERED.
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 22        Date: May 25, 2021              By:___________________________
 23                                                    HON. KAREN L. STEVENSON
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                                                                         [PROPOSED] ORDER
